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            EXHIBIT O
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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS

  STATE OF NEW JERSEY, et al.
                                                  :
            Plaintiffs,                           :
                                                  :
     v.                                           :
                                                  :
  DONALD J. TRUMP, et al.                             Civil Action No.: ___________
                                                                         25-cv-10139
                                                  :
            Defendants.                           :
                                                  :
                                                  :
                                                  :
                                                  :

                              Declaration of Gabrielle Armenia

   I, Gabrielle Armenia, hereby declare:

1. I am the Director of the Division of Eligibility and Marketplace Integration in the Office of

   Health Insurance Programs of the New York Department of Health (“DOH”), a position I

   have held since 2024. I have also been New York State’s Children’s Health Insurance

   Program (CHIP) Director since 2019. As Director of Eligibility and Marketplace Integration,

   I am responsible for eligibility policy for the Medicaid and Child Health Plus Program,

   among other things. Prior to holding this position, I was the Director of the Bureau of Child

   Health Plus policy from April 2008 through October 2013, the Director of the Bureau of

   Child Health Plus and Marketplace Integration from October 2013 through October 2022,

   and the Director of the Child Health Plus and Marketplace Consumer Assistance Group from

   October 2022 through March 2024.

2. As Director of the Division of Eligibility and Marketplace Integration and New York’s CHIP

   Director, I have personal knowledge of the matters set forth below or have knowledge of the

   matters based on my review of information and records gathered by my staff.

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3. I am providing this declaration to explain certain impacts of Executive Order titled

    “Protecting the Meaning and Value of American Citizenship” January 20, 2025) (the

    “Executive Order”), which revokes birthright citizenship for certain newly-born children of

    immigrants in the United States, on the State of New York’s health insurance programs.

4. DOH’s mission is to protect and promote health and well-being for all, building on a

    foundation of health equity. To support that goal, DOH performs many functions, including

    regulating healthcare facilities and overseeing the registration of vital events such as births.

                          New York Health Insurance and Eligibility Rules

5. Within DOH, the Office of Health Insurance Programs administers several programs through

    the NY State of Health Marketplace that enable qualifying New York residents to access free

    or low-cost healthcare coverage.

6. Publicly-funded health insurance programs in New York include: Medicaid 1, Child Health

    Plus 2 (New York’s Children’s Health Insurance Program, which includes federal- and state-




1 The term “Medicaid,” as used throughout, means the New York State- and federally-funded healthcare

program for low-income New Yorkers whose income and/or resources are below certain levels. It also
includes state-funded Medicaid for individuals who are ineligible for federally funded Medicaid due to
their immigration status. Eligible populations include children, pregnant women, single individuals,
families, and individuals certified blind or disabled. In addition, certain persons with medical bills may be
eligible for Medicaid if paying such bills allows them to spend down their income and resources to meet
required Medicaid income levels. Medicaid enrollees do not pay premiums and have little to no out-of-
pocket costs for many services. The term “Medicaid” does not include the Essential Plan, Child Health
Plus, or Qualified Health Plans.
2 Eligibility for Child Health Plus begins where Medicaid eligibility ends (223 percent of the federal

poverty level for children under 1 year old and 154 percent of the federal poverty level for children age 1
year and older; children are eligible for subsidized coverage with incomes up to 400 percent of the federal
poverty level. There is no Child Health Plus premium for children in households with incomes below 223
percent of the federal poverty level, and a sliding scale premium for those in households with incomes
above 222 up to 400 percent of the federal poverty level. Households with incomes above 400 percent of
the federal poverty level have the option to purchase Child Health Plus at full premium. 96 percent of
children enrolled in Child Health Plus are enrolled with no premium or sliding scale premiums, and
approximately four percent are enrolled with full premiums.


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    funded CHIP and New York’s state extension), the Essential Plan 3 (“EP”) (New York’s 1332

    State Innovation Waiver), and Qualified Health Plans (“QHP”) 4.

7. As of October 2024, a total of 2,461,497 children in New York were enrolled in federal- and

    state- funded Medicaid (“Federal-State Medicaid”) and Child Health Insurance Program, of

    whom 571,386 were enrolled in Child Health Plus. Some of the children enrolled in Child

    Health Plus were enrolled in federal- and state-funded CHIP, and some were enrolled in New

    York’s state extension.

8. In New York, Medicaid and Child Health Plus provide comprehensive healthcare coverage

    for a wide range of services, including primary care, hospitalization, laboratory tests, x-rays,

    prescriptions, mental health care, dental care, preventive screenings, and more.

9. Eligibility for New York’s publicly funded health insurance programs, including eligibility

    for Medicaid and Child Health Plus depends on age, New York State residency, household

    size, immigration status, and household income. Specifically, a child must not be eligible for

    Medicaid or have other comprehensive insurance or enrollment in or access to state health




3 The Essential Plan covers New Yorkers between the ages of 19-64 who are not eligible for Medicaid

and have incomes up to 250 percent of the federal poverty level. The Essential Plan provides
comprehensive benefits including free preventive care and dental and vision with no annual deductibles
and low copayments. Essential Plan is currently authorized under Section 1332 of the Affordable Care
Act as a State Innovation Waiver, which allows states to pursue innovative strategies for providing
residents with access to high-quality, affordable health insurance. Section 369-ii of the NY Social
Services Law authorizes State action under the Waiver. New York’s Section 1332 State Innovation
Waiver was approved effective April 1, 2024 to expand Essential Plan eligibility to consumers up to 250
percent of the Federal Poverty Level, and is effective through December 31, 2029. New York received
approval of a Waiver Amendment to extend subsidies to certain Qualified Health Plan enrollees under the
Waiver, with an effective date of January 1, 2025.
4 Qualified Health Plans are health plans that have been certified by and are available through the

Marketplace in accordance with the Affordable Care Act and federal regulations. 42 § U.S.C. 18021(a).
Enrollment in a Qualified Health Plan with financial assistance is available based on income and the cost
of available health plans ,for residents who do not have access to other affordable health insurance that
meets minimum essential coverage.
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   benefits coverage (New York State Health Insurance Program or NYSHIP) to be eligible for

   Child Health Plus.

10. In general, children under the age of 18 (i) meet the income eligibility requirement for

   Medicaid in New York if their household’s modified adjusted gross income (“MAGI”) is less

   than 223% of the federal poverty level (FPL) for children under age 1 and 154% of the FPL

   for children between the ages of 1 and 18, and (ii) meet the income eligibility requirement for

   subsidized Child Health Plus coverage if their household’s MAGI is less than 400% of the

   FPL. Children with household income over 400% of the FPL who are otherwise eligible may

   purchase coverage at the full cost.

11. For a child to be eligible for Federal-State Medicaid or CHIP, they must also be a U.S.

   citizen or “lawfully residing,” as that term is defined by federal law.

12. Most New York children under age 19 who do not qualify for Federal-State Medicaid

   because they are not U.S. citizens or “lawfully residing” are eligible for Child Health Plus,

   and the cost of providing that coverage is fully funded by the state.

13. New York implemented Child Health Plus because access to healthcare, particularly to

   primary care, makes children and communities healthier, and it is a fiscally responsible

   investment in the future of New York children.

14. The increased enrollment of children in New York through Child Health Plus has had a

   positive impact on public health in the state. Children enrolled in health insurance are more

   likely to receive preventative care services, including vaccinations. This reduces the need for

   more intensive health care treatments, including emergency care, as illnesses develop. It also

   reduces the financial burden on health care providers from providing care to uninsured

   individuals and ensures that families are not left with medical bills that they are unable to



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   pay. In addition, sick children with health insurance coverage are more likely to see a health

   care provider and receive treatment, limiting the spread of infectious illnesses across the

   state.

15. Having insurance coverage also makes it less likely that children will have to visit an

   emergency room to treat preventable illnesses because it is more likely that they will receive

   medical care before a treatable medical issue becomes an emergency. This reduces the

   resource strain and uncompensated care burden on hospitals.

                                Healthcare Coverage for Newborns

16. Many children born in the United States and residing in New York whose family income is

   at or below 400% of the Federal Poverty Level are eligible for New York public health

   insurance.

17. Presently, all children born in New York are U.S. citizens, regardless of the immigration

   status of their parent(s).

18. Thus, at present, public health insurance coverage for newborns born in New York State is

   funded jointly by the state and federal government, either through Medicaid or Child Health

   Plus.

19. Most healthy newborns remain in the hospital for two or three days after delivery. During

   this time, they receive routine postnatal care, including a vitamin K injection, antibiotic eye

   ointment, screening tests (e.g., heel-prick blood test, hearing screening), and hepatitis B

   vaccination.

20. Additionally, the American Academy of Pediatrics recommends that newborns see a doctor

   or nurse for a “well-baby visit” six times before their first birthday, including within the first




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   3-5 days, the first month, the second month, the fourth month, the sixth month, and the ninth

   month after birth.

21. Within the first year of life, babies may also need to visit a doctor when they appear ill and

   may require testing or prescription medication.

22. Children ages 1-18 typically have a range of health care needs that require services from

   various health care providers. For example, children in New York must show proof of

   certain immunizations within 14 days of starting school, unless they have an exemption for

   medical reasons.

                        Fiscal Impact of Revoking Birthright Citizenship

23. New York spends on average $299 per member per month on non-disabled children enrolled

   in Medicaid. New York currently pays approximately $272 per member, per month (totaling

   $3,264 per member per year) for children enrolled in its Child Health Plus program. As noted

   above, the federal government generally covers 50 percent of these costs for children

   enrolled in Federal-State Medicaid and 65 percent for children enrolled in Child Health Plus.

24. However, if a low-income child were not eligible for Federal-State Medicaid or CHIP, New

   York would not receive that federal assistance, and would cover the full cost of health

   insurance coverage for the newborn through Child Health Plus.

25. In 2023, approximately 100,000 or approximately 49% of births in New York State are

   enrolled in Federal-State Medicaid. Assuming that as a result of the Executive Order certain

   children born in New York will no longer be considered citizens, within one year of the

   revocation of birthright citizenship, a substantial portion of these children would be eligible

   for federally participating Federal-State Medicaid but for their new status as non-citizens.




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26. DOH would need to immediately begin planning for this potential loss of federal funding and

   would need to determine how to offset this loss to pay for coverage if newborns were shifted

   to state only funding through Child Health Plus. This includes reassigning staff from other

   priorities, hiring contractor support, changing information technology infrastructure, and

   expanding existing financial and programmatic support contracts to encompass the new

   scope of work this would entail. These costs increase dramatically the longer it takes CMS

   and the federal government to issue Medicaid specific impact guidance on this new policy.

      Eligibility Verification Process for Children on Federal-State Medicaid and CHIP

27. The State of New York fully funds public health insurance for children who meet the income

   eligibility guidelines for Federal-State Medicaid or CHIP, but do not qualify for those

   programs because they are not United States citizens or “qualified aliens.”

28. When a child’s birthing parent is enrolled in Federal-State Medicaid, the DOH automatically

   enrolls that child in Medicaid, as a “deemed newborn.” This is authorized by 42 C.F.R. §

   435.117, which requires States to provide Medicaid coverage from birth to a child’s first

   birthday if the child’s birthing parent was eligible for and received Federal-State Medicaid at

   the time of the child’s birth. Newborns are not “deemed” in Child Health Plus and must

   proactively apply for coverage as it is not automatic.

29. New York State utilizes the hospital newborn reporting system to automatically deem and

   enroll an eligible child in Federal-State Medicaid. The eligibility system currently relies on

   the fact that a newborn was born in a New York health care facility provided through the

   hospital newborn reporting system as proof of citizenship, qualifying the newborn for

   Federal-State Medicaid.




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30. Under the Executive Order, DOH will have to amend its existing processes to determine

   whether newborn children are eligible for Federal-State Medicaid because they can no longer

   rely on the fact that a child was born in the United States to confirm citizenship status. For

   example, the intake process including the booklet the parents complete in the hospital when

   the child is born would need to be revised to collect the immigration status of the birthing

   parent. Hospitals would only report children who appear eligible for Federal-State Medicaid

   through this system. Hospitals would need to be trained about what cases to report. Quality

   assurance reviews would need to occur to be sure the hospitals appropriately report the births

   that are Medicaid eligible. Since newborns are not deemed in Child Health Plus as they are

   for Medicaid, the parent/guardian would be required to apply for coverage on NY State of

   Health. For purposes of Child Health Plus, as long as a completed application is submitted

   within 60-days of the date of birth, coverage can be retroactive to the first date of the month

   of the child’s date of birth. This may create a gap in coverage for the child if the application

   is not completed within this timeframe, thus creating the potential for families to forgo

   needed care and placing a strain of uncompensated care on the provider community.

31. The DOH would incur significant costs to revise the process hospitals follow for reporting

   births to address changes in citizenship rules for newborns. This would require significant

   planning to understand the new rules governing U.S. citizenship for newborn children, to

   identify and determine the kinds of evidence that would suffice as proof of citizenship, to

   modify the intake process/booklet the parent completes in the hospital, and to develop and

   implement guidance and training for Department and State agency staff as well as for

   hospital staff statewide.




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